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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA-:                                     - CID
                        STATESBORO DIVISION




UNITED STATES OF AMERICA,               )

V.                                      ) Case No. CR606-026

CHARLES WILLIS, )

      Defendant.

                                   ORDER

      Let a copy of this Report and Recommendation be served upon plaintiff and

counsel for the defendant . Any objections to this Report and Recommendation

must be filed with the Clerk of Court not later than September 4, 2007 . The Clerk

shall submit this Report and Recommendation together with any objections to the

Honorable B. Avant Edenfield, United States District Judge, on September 5,

2007 . Failure to file an objection within the specified time means that this Report

and Recommendation may become the opinion and order of the Court, Nettles v .

Wainwright, 677 F .2d 404 (5th Cir. 1982), and further waives the right to appeal

the District Court's Order . Thomas v. Arn, 474 U.S. 140 (1985) .

      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned .
      SO ORDERED this 7073 day of August, 2007 .

                                                   UNITED STATES MAGISTRATE JUDG E
                                                   SOUTHERN DISTRICT OF GEORGIA
